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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                        :
 LISA SNEED,                            :
                                        :
                     Plaintiff,         :             16cv9528 (DLC)
                                        :
           -v-                          :                   ORDER
                                        :
 POLICE OFFICER GREGROY LOBIANCO,       :
 et al.,                                :
                                        :
                     Defendants.        :
                                        :
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DENISE COTE, District Judge:

     On October 6, 2021, trial in this case was set for April

26, 2022.   The Southern District of New York is reconfiguring

courtrooms and other spaces in its courthouses to allow civil

jury trials to proceed as safely as possible during the COVID-19

pandemic.   On March 3, 2022, the Clerks’ Office notified

district judges of the dates on which jury selection could

commence and trials could proceed in the reconfigured spaces

during April through June 2022.      Accordingly, it is hereby

     ORDERED that the parties shall be prepared to proceed to

trial April 28, 2022.

     IT IS FURTHER ORDERED that a final pretrial conference will

occur on March 9, 2022 at 10:00 AM.

     IT IS FURTHER ORDERED that the following procedures shall

govern the conduct of the trial.      The parties shall ensure that
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all trial participants comply with the Southern District of New

York’s Tenth Amended Standing Order entitled In re

Coronavirus/COVID-19 Pandemic(M-10-468), entered December 22,

2021, and other SDNY COVID-19-related orders that govern entry

into and behavior within SDNY courthouses.           These materials may

be found at: https://www.nysd.uscourts.gov/covid-19-coronavirus.

     IT IS FURTHER ORDERED that all individuals must practice

social distancing at all times in the courthouse.            Individuals

also must wear an N95, KN95, KN94 face mask that covers the

person’s nose and mouth at all times in the courthouse unless

the Court authorizes their removal.          Surgical masks, cloth

masks, bandannas, gaiters, and masks with valves are not

permitted.

     IT IS FURTHER ORDERED that all witnesses must be present in

Courtroom 18B, 500 Pearl Street by 9:30 a.m. on each day of

trial.

     IT IS FURTHER ORDERED that parties are responsible for

informing themselves of any modifications to SDNY COVID-19-

related rules and procedures and adhering to all current rules

and procedures for the duration of the trial.

     IT IS FURTHER ORDERED that the parties are responsible for

bringing these procedures to the attention of their witnesses

and any other persons they expect to attend the trial.

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     IT IS FURTHER ORDERED that the parties shall attempt to

have documents to be used at trial, including trial exhibits, in

electronic form.    Due to the pandemic, counsel should make every

effort to avoid the exchange of documents in paper form during

the trial.   Therefore, exhibits should be pre-marked and

assembled sequentially in a digital folder labelled with the

exhibit numbers for ready reference and be ready to be

distributed digitally to the Court, counsel, and witnesses

during the trial.

     IT IS FURTHER ORDERED that, if counsel intends to present

digital evidence via the courtroom’s audiovisual systems during

trial, counsel shall call this Court’s Chambers to schedule a

time to come to the courthouse in advance of trial to prepare

for presentation of digital evidence with the assistance of the

courthouse’s IT Department.

     IT IS FURTHER ORDERED that counsel should make certain that

they have custody of all original exhibits.        The Court does not

retain them, and the Clerk is not responsible for them.

     Counsel are advised that this Court’s Revised Standing

Order M10-468 of February 26, 2014 prohibits all personal

electronic devices and general purpose computing devices except

by written permission of the presiding judge.        Counsel are




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